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         Application GRANTED.

         SO ORDERED.
                                      12/13/2018



         HON. VALERIE CAPRONI
         UNITED STATES DISTRICT JUDGE
